  Case 1:17-cv-01155-LPS Document 9 Filed 09/13/17 Page 1 of 3 PageID #: 307



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

ONYX THERAPEUTICS, INC.,                         )
                                                 )
                              Plaintiff,         )
                                                 )
               v.                                )     C.A. No. 17-1155-LPS
                                                 )
INNOPHARMA INC.,                                 )
                                                 )
                         Defendant.              )
_______________________________________

ONYX THERAPEUTICS, INC.,                         )
                                                 )
                              Plaintiff,         )
                                                 )
               v.                                )     C.A. No. 17-1202-LPS
                                                 )
APOTEX INC. and APOTEX CORP.,                    )
                                                 )
                         Defendants.             )
_______________________________________

ONYX THERAPEUTICS, INC.,                         )
                                                 )
                              Plaintiff,         )
                                                 )
               v.                                )     C.A. No. 17-1235-LPS
                                                 )
 QILU PHARMA, INC. and QILU                      )
 PHARMACEUTICAL CO., LTD.,                       )
                                                 )
                              Defendants.        )

                        STIPULATION AND [PROPOSED] ORDER

       WHEREAS, the actions against InnoPharma Inc. (C.A. No. 17-1155-LPS), Apotex Inc.

and Apotex Corp. (C.A. No. 17-1202-LPS), and Qilu Pharma, Inc. and Qilu Pharmaceutical Co.,

Ltd. (C.A. No. 17-1235-LPS) (collectively, “Related Actions”) are related to C.A. No. 16-988

(LPS), which is currently pending before this Court;
  Case 1:17-cv-01155-LPS Document 9 Filed 09/13/17 Page 2 of 3 PageID #: 308



       WHEREAS, plaintiff Onyx Therapeutics, Inc. and defendants InnoPharma Inc., Apotex

Inc., Apotex Corp., Qilu Pharma, Inc., and Qilu Pharmaceutical Co., Ltd. (collectively, “the

parties”) have agreed to consolidation of the Related Actions with C.A. No. 16-988 (LPS) for

purposes of discovery, and further agreed to follow the Scheduling Order (D.I. 21) entered in C.A.

No. 16-988 (LPS) on April 18, 2017, as amended by the Stipulation and Proposed Order filed by

the parties on September 13, 2017, and except that plaintiff Onyx Therapeutics, Inc. shall serve its

Infringement Contentions against defendants InnoPharma Inc., Apotex Inc., Apotex Corp., Qilu

Pharma, Inc., and Qilu Pharmaceutical Co., Ltd. by October 2, 2017.

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that:

       1)       The Related Actions shall be consolidated with C.A. No. 16-988 (LPS) for purposes

of discovery;

       2)       The parties shall follow the Scheduling Order entered in C.A. No. 16-988 (LPS)

(D.I. 21, as entered on April 18, 2017), as amended by the Stipulation and Proposed Order filed

by the parties on September 13, 2017, and except that plaintiff Onyx Therapeutics, Inc. shall serve

its Infringement Contentions against defendants InnoPharma Inc., Apotex Inc., Apotex Corp., Qilu

Pharma, Inc., and Qilu Pharmaceutical Co., Ltd. by October 2, 2017;

       3)       All filings shall be made in the lead case C.A. No. 16-988 (LPS).
  Case 1:17-cv-01155-LPS Document 9 Filed 09/13/17 Page 3 of 3 PageID #: 309



 MORRIS, NICHOLS, ARSHT & TUNNELL LLP         PHILLIPS GOLDMAN MCLAUGHLIN & HALL,
                                              P.A.

 /S/ MARYELLEN NOREIKA                        /S/ DAVID A. BILSON
 Jack B. Blumenfeld (#1014)                   John C. Phillips, Jr. (#110)
 Maryellen Noreika (#3208)                    David A. Bilson (#4986)
 1201 North Market Street                     1200 North Broom Street
 P.O. Box 1347                                Wilmington, DE 19806
 Wilmington, DE 19899                         (302) 655-4200
 (302) 658-9200                               jcp@pgmhlaw.com
 jblumenfeld@mnat.com                         dab@pgmhlaw.com
 mnoreika@mnat.com
                                              Attorneys for Defendant InnoPharma Inc.
 Attorneys for Plaintiff Onyx Therapeutics,
 Inc.




 SMITH, KATZENSTEIN & JENKINS LLP             COZEN O’CONNOR

 /S/ EVE H. ORMEROD                           /S/ JOSEPH J. BELLEW
 Neal C. Belgam (#2721)                       Joseph J. Bellew (#4816)
 Eve H. Ormerod (#5369)                       1201 North Market Street, Suite 1001
 1000 West Street, Suite 1501                 Wilmington, DE 19801
 Wilmington, DE 19801                         (302) 295-2025
 302-652-8400                                 jbellew@cozen.com
 nbelgam@skjlaw.com
 eormerod@skjlaw.com                          Attorneys for Defendants Apotex Inc. and
                                              Apotex Corp.
 Attorneys for Defendants Qilu Pharma, Inc.
 and Qilu Pharmaceutical Co., Ltd.



Dated: September 13, 2017



       SO ORDERED this _____ day of September, 2017.


                                                Chief, United States District Judge
